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                                       5
                                           Attorneys for Plaintiffs Luxx International, LLC
                                       6   and Wayde King
                                       7
                                                                    UNITED STATES DISTRICT COURT
                                       8                                 DISTRICT OF NEVADA
                                       9   LUXX INTERNATIONAL, LLC, a Florida         Case No.: 2:23-cv-00512- MMD-DJA
                                           limited liability company; and WAYDE KING,
                                      10
3993 Howard Hughes Pkwy., Suite 600




                                           an individual,
                                                                                      STIPULATION AND ORDER TO
                                      11           Plaintiffs,                        EXTEND TIME FOR PLAINTIFFS
                                                                                      TO FILE A RESPONSE TO
                                      12   vs.                                        DEFENDANTS’ COUNTERCLAIMS
                                      13
Las Vegas, NV 89169




                                           PURE WATER TECHNOLOGIES, a Nevada            [FIRST REQUEST]
                                           limited liability company; TASTY ONE, LLC,
                                      14   a foreign limited liability company; MICHAEL
                                           KAPLAN, an individual; and ADAM
                                      15   KAPLAN, an individual.
                                      16            Defendants.
                                      17

                                      18            Plaintiffs LUXX INTERNATIONAL, LLC and WAYDE KING (“Plaintiffs”), by

                                      19   and through their attorneys of record, Lewis Roca Rothgerber Christie LLP, and defendants

                                      20   PURE WATER TECHNOLOGIES, LLC, by and through its attorney of record, the law

                                      21   offices of Marc D. Risman, TASTY ONE, LLC, by and through its attorneys of record,

                                      22   McMenemy Holmes PLLC, MICHAEL KAPLAN, and MICHAEL KAPLAN and ADAM

                                      23   KAPLAN, by and through their attorneys, the law firm of Maier Gutierrez & Associates

                                      24   (collectively “Defendants”), hereby STIPULATE AND AGREE that Plaintiff’s deadline to

                                      25   file a response to Defendants’ counterclaims [ECF No. 16] shall be extended to

                                      26   Wednesday, June 21, 2023.

                                      27            The current deadline to respond to the counterclaims is June 7, 2023. This

                                      28   stipulation represents an extension of that deadline of not more than 14 days and is

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                                       1   requested to allow plaintiffs’ counsel to gather information from one Mr. Charlie Luxx who

                                       2   is cited in Defendants’ counterclaims. Access and communications with Mr. Luxx are

                                       3   challenging because he happens to be incarcerated at the moment.

                                       4            This extension is sought in good faith and not for purposes of delay. This is the first

                                       5   extension of this deadline.

                                       6    DATED this 6th day of June, 2023.                 DATED this 6th day of June, 2023.
                                       7    MAIER GUTIERREZ & ASSOCIATES                      LEWIS ROCA ROTHGERBER CHRISTIE
                                       8     s/JP Hendricks           .                        s/Eric Kohli          .
                                            Joseph A. Gutierrez, Esq.                         Eric N. Kohli, Esq.
                                       9    Nevada Bar No. 9046                               Nevada Bar No. 15763
                                            Jean-Paul Hendricks, Esq.                         3993 Howard Hughes Parkway, Suite 600
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                                            Nevada Bar No. 10079                              Las Vegas, Nevada 89169
                                            8816 Spanish Ridge Avenue
                                      11    Las Vegas, Nevada 89148                           Attorneys for Plaintiffs Luxx International,
                                                                                              LLC and Wayde King
                                      12    Attorneys for Defendants Michael Kaplan
                                            and Adam Kaplan
                                      13
Las Vegas, NV 89169




                                            DATED this 6th day of June, 2023.                 DATED this 6th day of June, 2023.
                                      14
                                            MARC D. RISMAN, & EMERY LLP                       MCMENEMY HOLMES PLLC
                                      15

                                      16     s/Marc Risman         .                           s/Dustun Holmes            .
                                            Marc D. Risman, Esq.                              Dustun H. Holmes, Esq.
                                      17    Nevada Bar No. 2455                               Nevada Bar No. 12776
                                            3722 Las Vegas Boulevard, Suite 606               1645 Village Center Circle, Suite 291
                                      18    Las Vegas, Nevada 89158                           Las Vegas, Nevada 89134
                                      19    Attorney for Defendant Pure Water                 Attorney for Defendant Tasty One, LLC
                                            Technologies, LLC
                                      20

                                      21                                                   IT IS SO ORDERED.
                                      22

                                      23                                                  _________________________________
                                                                                       _______________________________________
                                                                                          UNITED
                                                                                       DANIEL      STATES DISTRICT JUDGE
                                                                                               J. ALBREGTS
                                      24                                               UNITED STATES MAGISTRATE JUDGE
                                                                                          DATED:
                                      25
                                                                                       DATED: June 8, 2023
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